976 F.2d 725
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stephen M. CHRZAN, Jr., Petitioner-Appellant,v.M. J. MCDADE;  Lacy Thornburg, North Carolina AttorneyGeneral, Respondents-Appellees.
    No. 92-6691.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 31, 1992Decided:  September 24, 1992
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Winston-Salem.  Norwood Carlton Tilley, Jr., District Judge.  (CA-91-131-6)
      Stephen M. Chrzan, Jr., Appellant Pro Se.
      Richard Norwood League, Office of the Attorney General of North Carolina, Raleigh, North Carolina, for Appellees.
      M.D.N.C.
      DISMISSED.
      Before SPROUSE and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Stephen M. Chrzan, Jr., seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Chrzan v. McDade, No. CA-91-131-6 (M.D.N.C. Apr. 21, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    